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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
 GREGG SINGER, SING FINA CORP.,
 and 9TH & 10TH STREET LLC,

                          Plaintiffs,                     Case No.: 1:18-cv-00615

                                                          NOTICE OF MOTION TO ALTER
                 -against-                                OR AMEND THE JUDGMENT TO
                                                          ALLOW LEAVE TO AMEND THE
 THE CITY OF NEW YORK, THE                                COMPLAINT
 NEW YORK CITY DEPARTMENT OF
 BUILDINGS, THE GREENWICH VILLAGE
 SOCIETY FOR HISTORIC PRESERVATION
 and BILL DE BLASIO, ROSIE MENDEZ,
 CARLINA RIVERA, ANDREW BERMAN,
 and AARON SOSNICK, in their individual and
 official capacities, and JOHN AND JANE DOE
 1-100, whose identities are unknown at present,

                           Defendants.
------------------------------------------------------X

        Plaintiffs Gregg Singer, Singa Fina Corp., and 9th and 10th Street LLC (“Plaintiffs”)

hereby move pursuant to Rules 59(e), 60(b)(1), and/or 60(b)(6) of the Federal Rules of Civil

Procedure, to alter or amend the Court’s Order dated September 30, 2019 (ECF No. 101), in

order to grant Plaintiffs leave to amend their Complaint pursuant to Federal Rules of Civil

Procedure 15(a). In support of this Motion, Plaintiff submits a Memorandum in Support and the

accompanying Exhibit A contemporaneously herewith.

Dated: Garden City, New York
       October 28, 2019
                                                        GERSTMAN SCHWARTZ, LLP
                                                    By: /s/ Randy E. Kleinman
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